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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

JOE ANDREW SALAZAR,                             §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §               No. 2:16-CV-01096-JRG-RSP
                                                §
HTC CORPORATION,                                §
                                                §
       Defendant.                               §

                         REPORT AND RECOMMENDATION

       In this patent case, the Court now considers Defendant HTC Corporation’s Motion

for Summary Judgment of Noninfringement [Dkt. # 149]. For the reasons explained below,

the motion should be GRANTED IN PART.

I.     BACKGROUND

       Plaintiff Joe Salazar accuses HTC Corporation of infringing Claim 1 and Claim 34

U.S. Patent 5,802,467 by making and selling smartphones. More specifically, Salazar al-

leges three HTC smartphone models—the One M7, One M8, and One M9—literally em-

body the asserted claims of the ’467 Patent. Second Am. Compl. [Dkt. # 44] ¶ 7. Salazar

also claims indirect and willful infringement, and that at least some claims limitations, if

not literally satisfied, are satisfied under the doctrine of equivalents. Id. ¶ 15, 17, 23

       The ’467 Patent, which is now expired, relates to a system for two-way communi-

cation with appliances, such as intercoms, televisions, sound systems, and the like. See,

e.g., ’467 Patent fig.1b. According to the patent, prior-art devices communicated with such


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appliances only using one-way communication, and usually with only one of an infrared

(IR) frequency signal or a radio frequency (RF) signal. Id. at 1:18–50. Relative to the prior

art, the ’467 Patent considered full two-way communication directly with an appliance us-

ing IR or RF links to be significantly advantageous. Id. at 1:51–2:11.

       Generally, Defendant moves for summary judgment of noninfringement on five

grounds. First, Defendant contends, for a number of different reasons, that the accused

devices do not satisfy the all-elements rule as to the asserted claims. Second, Defendant

claims Salazar has no evidence supporting his willful infringement, indirect infringement,

or doctrine-of-equivalents positions. Third, Defendant contends Salazar has no evidence to

show the asserted claims cover the One M9. Fourth, Defendant claims summary judgment

is appropriate for accused devices sold to Sprint by Defendant’s subsidiary, HTC America,

because Defendant has not, within the United States, committed acts prohibited by 35

U.S.C. § 271 with respect to those devices. Finally, Defendant urges the Court to grant

summary judgment as to certain patent claims that Salazar has agreed to dismiss.

II.    APPLICABLE LAW

       Summary judgment should be granted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). “By its very terms, this standard provides that the mere existence of

some alleged factual dispute between the parties will not defeat an otherwise properly sup-

ported motion for summary judgment; the requirement is that there be no genuine issue of

material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). The substan-




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tive law identifies the material facts, and disputes over facts that are irrelevant or unneces-

sary will not defeat a motion for summary judgment. Id. at 248. A dispute about a material

fact is “genuine” when the evidence is “such that a reasonable jury could return a verdict

for the nonmoving party.” Id. In considering motions for summary judgment, the Court

must draw all reasonable inferences in favor of the non-moving party. Id. at 255; Delta &

Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398 (5th Cir. 2008).

III.   DISCUSSION

       A.     The all-elements rule.

              1.      The meaning of “configured to”

       Defendant’s first argument concerns “a memory device coupled to [a] microproces-

sor configured to store a plurality of parameter sets.” ’467 Patent 26:1–2 (emphasis added);

see also id. at 30:15–16. Citing testimony of Roy Griffin, Salazar’s infringement expert,

Defendant contends Salazar has evidence the accused devices are capable of being so con-

figured, which is insufficient to meet the limitation. Def.’s Mot. [Dkt. # 149] at 10. Accord-

ing to Defendant, the claims require actual configuration, which does not happen until a

user connects the phones to third-party servers and downloads command codes 1 for a par-

ticular external device. Id. at 10–11. Salazar, however, claims Defendant misrepresents

Griffin’s position, Pl.’s Resp. [Dkt. # 177] at 4, and that Griffin testified that user activity

is not required to meet the claim limitation, id. at 5.




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 Command codes are codes representative of signals used to remotely control a particular
device. See ’467 Patent at 7:34–54.

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       The Court disagrees with Salazar’s characterization of Griffin’s testimony. Griffin

clearly testifies that “configured to” means “capable of,” which is the basis for his opinion

that user activity is not required—as opposed to the devices having undergone some con-

figuration process before downloading the command codes. Griffin Dep. (Jan. 23, 2018)

[Dkt. # 177-5] at 157:19–158:4; id. at 162:21–23; id. at 163:13–17. Clearly, then, there is

a fundamental dispute between the parties about the meaning of “configured to”—i.e., does

“configured to” require more than mere capability—which the Court must resolve. See O2

Micro Int’l v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“When

the parties present a fundamental dispute regarding the scope of a claim term, it is the

court’s duty to resolve it.”).

       “[T]he best source for understanding a technical term is the specification from

which it arose.” Phillips v. AWH Corp., 415 F.3d 1303, 1315 (Fed. Cir. 2005); see also

Moba, B.V. v. Diamond Automation, Inc., 325 F.3d 1306, 1315 (Fed. Cir. 2003) (“[T]he

best indicator of claim meaning is its usage in context as understood by one of skill in the

art at the time of invention.”). Here, the specification refers to configuring memory “so as

to store a finite set of parameters” to “take substantially less memory space than if the entire

signal were to be stored.” ’467 Patent at 8:22–30. More specifically, the patent contem-

plates storing some parameters in one array and other parameters in other arrays, thus sug-

gesting some particular arrangement of the parameters as arrayed within memory. Id. at

8:31–65; see also id. fig.6 (illustrating the specific fields in each array). Thus, the specifi-

cation suggests a conclusion that Defendant’s construction is more proper.




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       Also, the specification’s use of “configured to” is consistent with dictionary defini-

tions for the term. See Phillips, 415 F.3d at 1322–23 (noting judges may rely on a dictionary

so long as the definition does not contradict any definition ascertained by reading the patent

documents) (citing Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1585 (Fed. Cir.

1996). One dictionary defines “configure” as “to set something up, arrange something in a

particular way, or fix something up for a particular purpose.” http://www.yourdiction-

ary.com/configure (last visited Apr. 27, 2018). That same dictionary defines “capable” as

“permitting an action to be performed.” http://www.yourdictionary.com/capable (last vis-

ited Apr. 27, 2018).

       Based on the patent’s usage of “configured to” and these dictionary definitions, the

Court construes “configured to” to require some particularized arrangement of the memory

device for a specific purpose. The Court therefore rejects Salazar’s position that a mere

capability of storing, or capability of being configured to store, is sufficient.

       Defendant’s undisputed facts, however, don’t address the “memory device” config-

uration. Rather, they address whether the accused devices can be used prior to downloading

parameter sets or command codes, see Def.’s Mot. [Dkt. # 149] at 4 (¶¶ 12–13), despite

that the “configured to” language does not require the presence of such parameter sets or

command codes. As such, Defendant has not sufficiently shown the Court the memory

device could not be “configured to store” without actually storing—i.e., before the down-

loading. The Court therefore concludes Defendant has failed to show it is entitled to sum-

mary judgment as a matter of law, and this part of the motion should be denied.




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              2.     The infrared transceiver

       The asserted claims require an “infra-red frequency transceiver coupled to [a] mi-

croprocessor for transmitting to said external devices and receiving from said external de-

vices.” ’467 Patent at 26:13–17; see also id. at 30:27–31. Defendant contends this requires

that the IR transceiver of an accused device be capable of transmitting to at least two sep-

arate external devices and receiving from the same devices. Because Salazar has no evi-

dence that the accused devices have this capability, says Defendant, summary judgment is

proper. See generally Def.’s Mot. [Dkt. # 149] at 11–13.

       Salazar responds that Defendant wrongly assumes each external device must be ca-

pable of transmitting and receiving IR signals, and that each external device must have

both transmitted and received IR signals. This, says Salazar, goes against the plain and

ordinary meaning of the phrase. According to Salazar, the claim only requires that the IR

transceiver be capable of sending and receiving IR signals in accordance with the commu-

nication protocols. See generally Pl.’s Resp. [Dkt. # 177] at 7–9.

       Here, too, the parties present a claim-construction dispute for the Court to resolve.

Effectively, Defendant urges the Court to construe “said external devices” in the micropro-

cessor limitation as “each external device of the plurality of external devices.” Salazar, on

the other hand, interprets “said external devices” as shorthand for the earlier recited “plu-

rality of external devices”—i.e., a single group made up of external devices.

       The Court agrees with Salazar. The limitation only requires that the IR transceiver

be capable of sending and receiving IR signals to the plurality of external devices—not that




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it be capable of transmitting and sending to each device within that plurality. The specifi-

cation supports this conclusion by noting “the signals can be transmitted and/or re-

ceived . . . to any number of appliances and/or apparatus capable of receiving and/or trans-

mitting compatible signals.” ’467 Patent at 2:17–20 (emphasis added). Thus, Defendant’s

position is too narrow and, because the remainder of Defendant’s argument is based on that

construction, this part of the motion should be denied.

              3.     Communication “in accordance with said communication protocols”

       Each asserted claim requires the IR transceiver to transmit and receive “in accord-

ance with [earlier-recited] communications protocols.” ’467 Patent at 26:16–17; see also

id. at 30:30–31. Defendant contends this language requires the IR transceiver to communi-

cate in accordance with each and every protocol usable by the device, regardless of whether

each protocol is designed for IR communication. For example, HTC contends that, because

Griffin identifies Bluetooth and NFC as RF communications protocols that can be used by

the accused devices, and because those are RF protocols (rather than IR protocols), this

claim limitation is not met because the transceiver cannot use them. See generally Def.’s

Mot. [Dkt. # 149] at 13–15.

       Salazar counters that a person of ordinary skill would understand that the IR trans-

ceiver can send and receive in accordance with IR communication protocols and an RF

transceiver can send and receive in accordance with RF communication protocols. See gen-

erally Pl.’s Resp. [Dkt. # 177] at 7–8. Moreover, says Salazar, the asserted claims do not

require any external devices be capable of transmitting or receiving IR or RF. Id. at 8–9.




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       The Court agrees with Salazar. The point of the invention is to enable communica-

tion with many different types of external devices, which between them may implement

different IR and/or RF communication protocols. Considering the claim language in that

context, it’s nonsensical to require the RF transceiver to communicate using IR communi-

cations protocols, or to require the IR transceiver to communicate using RF protocols.

Thus, because the Court rejects Defendant’s interpretation of the term, this part of the mo-

tion should be denied.

              4.     The meaning of “creating” or “generating” a communication proto-
                     col

       Each of the asserted claims recites “a microprocessor . . . creating a plurality of re-

programmable communications protocols.” ’467 Patent at 25:60–63; see also id. at 30:8–

11. Defendant contends this language requires a microprocessor that “creates” new com-

munication rules for communicating with external devices—i.e., that the microprocessor

brings new protocols into existence. Because the protocols at issue are created by third

parties, says Defendant, the accused devices do not meet this limitation. See generally

Def.’s Mot. [Dkt. # 149] at 17–19. Salazar responds that a person of ordinary skill would

not understand “creating,” as used by the patent, to mean bringing a new protocol into

existence. See generally Pl.’s Resp. [Dkt. # 177] at 9–10.

       The Court again agrees with Salazar. In describing the microprocessor, the specifi-

cation notes one embodiment is “configured to utilize several communication protocols

employed by various manufacturers or various models of the same brand.” ’467 Patent at




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7:37–39. But nowhere does the specification teach the creation of new “rules” for com-

municating, which would defeat the purpose of the invention—to facilitate communication

with different third-party external devices. Accordingly, the Court rejects Defendant’s in-

terpretation of this limitation, and this part of the motion should be denied.

              5.     Whether the accused “microprocessor” carries out each and every
                     claim limitation

       Defendant argues the accused devices’ Snapdragon 600 microprocessor, which Sal-

azar claims satisfies the “microprocessor” limitation of the asserted claims, does not “rec-

reate a desired command code set.” Defendant’s argument relies on Griffin’s testimony that

a “command code set” is a “set of signals that are the after-modulated signal.” Because a

different microcontroller (the MAXQ614) generates and modulates the IR carrier wave-

form with the command data, Defendant contends this claim limitation is not satisfied by

the accused devices. See generally Def.’s Mot. [Dkt. # 149] at 17–19.

       Salazar responds that microprocessors often utilize coupled components to perform

operations under their control. Here, says Salazar, the microprocessor limitation is satisfied

even if a peripheral component is used to carry out a function under the command of the

microprocessor. Pl.’s Resp. [Dkt. # 177] at 10–12.

       Despite Griffin’s testimony, the patent establishes that the “command code set” is

stored data rather than a transmitted signal. Claim 1 for example, recites “that the memory

space required to store said parameters is smaller than the memory space required to store

said command code sets.” ’467 Patent at 26:4–6. Claim 34, in fact, distinguishes between

the command code set and the resultant pulse signals generated based on the command



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 code set. Id. at 30:15–20 (reciting “a memory device . . . configured to store a plurality of

 parameter sets retrieved by said microprocessor so as to recreate based on said parameter

 sets a desired set of pulse signals . . . as specified by a command code set”); see also id. at

 7:55–60 (“It will be appreciated that a handset that is capable of communicating with sub-

 stantially all major brands of various devices . . . requires a substantially large memory to

 store all the command code sets with various sets of signals.”). Thus, that the MAXQ614

 might actually modulate a signal based on a command code set is immaterial to whether

 the Snapdragon 600 recreates command code sets in the memory device. This part of the

 motion should therefore be denied.

        B.     Indirect Infringement, Willful Infringement, and the Doctrine of Equiv-
               alents.

               1.     Indirect infringement and willful Infringement

        Defendant asserts Salazar cannot prove the “knowledge” element of indirect in-

 fringement or the “culpable behavior” element of willful infringement because Defendant

 did not have notice of the ’467 Patent before it expired. See generally Def.’s Mot. [Dkt.

 # 149] at 19–21. Salazar concedes he has no evidence to support these claims. Pl.’s Resp.

 [Dkt. # 177] at 15. Accordingly, summary judgment should be granted with respect to

 these two claims.

               2.     The doctrine of equivalents.

        Defendant argues the Court should grant summary judgment concerning the doc-

 trine of equivalents because Salazar’s infringement expert, Roy Griffin, offers no particu-

 larized testimony that creates a fact issue as to equivalents. See generally Def.’s Mot. [Dkt.


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 # 149] at 21. Salazar notes Griffin’s opinion that, if the identified elements are not literally

 met, the components perform substantially the same function, in substantially the same

 way, to obtain the same result. See generally Pl.’s Resp. [Dkt. # 177] at 15.

        In the context of summary judgment,

        a patentee must . . . provide particularized testimony and linking argument
        as to the ‘insubstantiality of the differences’ between the claimed invention
        and the accused device or process, or with respect to the function, way, result
        test when such evidence is presented to support a finding of infringement
        under the doctrine of equivalents. Such evidence must be presented on a lim-
        itation-by-limitation basis. Generalized testimony as to the overall similarity
        between the claims and the accused infringer’s product or process will not
        suffice.

 AquaTex Indus., Inc. v. Techniche Solutions, 479 F.3d 1320, 1328 (Fed. Cir. 2007) (quoting

 Tex. Instruments, Inc. v. Cypress Semiconductor Corp., 90 F.3d 1558, 1567) (Fed. Cir.

 1996) (emphasis in original); see also Texas Instruments Inc. v. Cypress Semiconductor

 Corp., 90 F.3d 1558, 1567–68 (Fed. Cir. 1996) (rejecting as insufficient (1) generalized

 expert testimony as to overall similarity, and (2) expert testimony lacking discussion of

 whether or how the way the accused device met the claim limitation under the doctrine and

 why the function and result were the same); Lear Siegler, Inc. v. Sealy Mattress Co. of

 Mich., Inc., 873 F.2d 1422, 1427 (Fed. Cir. 1989) (noting general references to the doctrine

 of equivalents do not provide the necessary “explicit exposition” of all three Graver Tank

 elements because a jury cannot be expected to determine infringement under the doctrine

 without evidence and argument concerning the doctrine and each of its elements). Thus,

 “[t]he evidence and argument on the doctrine of equivalents cannot merely be subsumed

 in [a] plaintiff’s case of literal infringement.” Lear Siegler, 873 F.2d at 1425.


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        Here, Salazar relies on nothing more than Griffin’s boilerplate references to the doc-

 trine of equivalents in his report. Griffin, however, provides no specific analysis concern-

 ing how the doctrine applies to even a single limitation of the asserted claims. Accordingly,

 the Court concludes Salazar cannot meet the Federal Circuit’s evidentiary burden for

 doctrine-of-equivalents contentions, and summary judgment should be granted as to this

 part of the motion.

        C.     The One M9

        The accused devices require software applications to implement the accused IR

 technology. For that purpose, the One M7 and One M8 include a preloaded version of

 HTC’s “Sense TV” application. The One M9 includes the Peel Smart Remote application

 supplied by a third-party.

        Defendant argues it is entitled to summary judgment of noninfringement for all

 claims concerning the One M9 because Griffin’s infringement analysis and opinions do not

 mention the Peel Smart Remote application. Def.’s Mot. [Dkt. # 149] at 22–23. Salazar

 responds that Griffin’s report identifies all of the exemplary components and source code

 in the One M8 and concluded the One M9 has substantially the same components as the

 HTC One M7 and M8. Pl.’s Resp. [Dkt. # 177] at 12–13.

        Griffin’s report only mentions the Peel Smart Remote application only when de-

 scribing operation of the Pronto, an “IR blaster” used as a proxy for damages calculations

 by Salazar’s damages expert. See, e.g., Griffin Rep. [Dkt. # 177-2] at 13–14 (¶ 50). Grif-

 fin’s infringement chart, which provides his substantive analysis, does not refer to the Peel

 Smart Remote application, nor do Salazar’s infringement contentions. See Claim Chart A


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 [Dkt. # 177-9]; Pl.’s Discl. of Asserted Claims & Infringement Contentions [Dkt. # 116-2].

 Moreover, Griffin’s report makes no mention of the Sense TV application being an exem-

 plary component or providing exemplary source code.

        Clearly, the software is important to Griffin’s infringement analysis. Griffin, for ex-

 ample, supports his finding of certain claim limitations with references to the Sense TV

 application. See, e.g., Griffin Rep. Ex. C [Dkt. # 177-9] at 4 (“Each of these profiles nec-

 essarily includes a plurality of parameter sets so that when a particular button in the Sense

 TV application is pressed for a particular external device, the proper corresponding param-

 eter set is utilized for IR transmission”), 7 (“the Sense TV Application configures the mi-

 croprocessor to store a plurality of parameter sets in a memory coupled to the micropro-

 cessor”). But Griffin does not clearly conclude the Sense TV by itself satisfies a particular

 claim limitation. Thus, it is not evident that Salazar cannot prove his claims for the One

 M9 without reference to the Peel Smart Remote application. As such, this part of the motion

 should be denied.

        D.     The Accused Devices Retailed by Sprint

        Defendant contends, and Salazar does not dispute, that (1) it manufactures the ac-

 cused devices in Taiwan, Def.’s Mot. [Dkt. # 149] at 2 (¶ 2); (2) effective June 1, 2010,

 HTC America, Inc. became Defendant’s United States distributor and the importer of rec-

 ord for the accused devices, id. at 6 (¶ 23); (3) title to all HTC-branded smartphones passes

 to HTC America outside of the United States, id.; and (4) after June 1, 2010, United States

 sales of the accused devices to Sprint were made by HTC America, id. (¶ 24). Accordingly,

 Defendant contends summary judgment is proper for all accused devices ultimately sold to


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 Sprint because those sales were by HTC America, whereas Defendant’s acts were outside

 the scope of 35 U.S.C. § 271.

        Although Salazar’s response relies only legal argument, his surreply cites to (1) a

 “Master Purchase Agreement” between Defendant and Sprint dated January 2, 2010 [Dkt.

 # 208-2], and (2) a June 1, 2010, “Amendment No. 6” to the Master Purchase Agreement

 [Dkt. # 208-2] between Defendant, Sprint, and HTC America. Salazar contends the

 Amendment assigned Defendant’s accounting and distribution duties, but that Defendant

 retained ownership of its software and intellectual property, which is sufficient to establish

 a “sale” within the United States for purposes of 35 U.S.C. § 271. See generally Def.’s

 Resp. [Dkt. # 177] at 13–15; Def.’s Surreply [Dkt. # 208] at 9–10.

        In light of these two documents, summary judgment is not proper because there is a

 fact issue as to whether Defendant “sold” the accused devices to Sprint within the meaning

 of § 271. The Master Purchase Agreement obligates Defendant to deliver the accused prod-

 ucts to Sprint’s designated warehouses within the United States. Master Purchase Agree-

 ment [Dkt. # 208-2] at 20 (¶ 8.1); see also id. at Ex. L. The Amendment purports to assign

 the right to receive and process purchase orders, issue purchases orders, and receive pay-

 ments, but does not delegate the obligation to ship accused devices to Sprint. Amendment

 [Dkt. # 208-2] at 2. Moreover, even after the Amendment, Defendant remained liable for

 any and all breaches of the agreement by HTC America. Id. Thus, a reasonable jury could

 infer that Defendant had obligations of performance that would constitute a “sale” within

 the meaning of § 271. See, e.g., N. Am. Philips Corp. v. Am. Vending Sales, Inc., 35 F.3d

 1576, 1579 (Fed. Cir. 1994) (noting the place of performance may control over the place


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 where legal title passes for the purpose of determining the location of the allegedly infring-

 ing sale). Accordingly, this part of Defendant’s motion should be denied.

        E.     Claim 10 and Its Dependents

        Finally, Defendant moves for summary judgment of noninfringement as to Claim

 10 and its dependent claims based on Salazar’s stipulation to no longer assert those claims.

 Def.’s Mot. [Dkt. # 149] at 24. The Court, however, has already dismissed those claims

 with prejudice. See Order of Dismissal With Prejudice [Dkt. # 153]. Accordingly, this part

 of Defendant’s motion should be denied as moot.

 IV.    ORDER

        The Court ADOPTS the constructions set forth in this opinion for the disputed terms

 of the patent-in-suit. See Part III.A supra. The Court ORDERS the parties not to refer,

 directly or indirectly, to each other’s claim construction positions in the presence of the

 jury. Likewise, the Court ORDERS the parties to refrain from mentioning any portion of

 this opinion, other than the actual constructions adopted by the Court, in the presence of

 the jury. Any reference to claim construction is limited to informing the jury of the defini-

 tions adopted by the Court.

 V.     RECOMMENDATIONS

        For the reasons set forth above, summary judgment should be GRANTED for De-

 fendant with respect to Salazar’s indirect infringement, willfulness, and doctrine-of-

 equivalents claims. Otherwise, Defendant’s motion should be DENIED.

        A party’s failure to file timely written objections to the findings, conclusions, and

 recommendations contained in this report after being served with a copy bars that party


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 from de novo review by the district judge of those findings, conclusions, and recommen-

 dations and, except on grounds of plain error, from appellate review of unobjected-to fac-

 tual findings, and legal conclusions accepted and adopted by the district court. Fed. R. Civ.

 P. 72(b)(2); see Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996)

 (en banc).
        SIGNED this 3rd day of January, 2012.
       SIGNED this 1st day of May, 2018.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE




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